               Case 5:18-cv-07677-NC Document 328 Filed 12/30/21 Page 1 of 6




     LAW OFFICES OF YOLANDA HUANG
 1
     YOLANDA HUANG, SBN 104543
 2   528 Grand Avenue
     Oakland, CA 94610
 3   Telephone: (510) 329-2140
     Facsimile: (510) 580-9410
 4
     Email: yhuang.law@gmail.com
 5
     Attorney for Class Member Rayann Krum
 6
 7                                                UNITED STATES DISTRICT COURT
 8                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 9
10
     ASHOK BABU, ROBERT BELL, IBRAHIM                                                           No. 5:18-cv-07677
11
     KEEGAN-HORNSBY, DEMAREA
12   JOHNSON, BRANDON JONES,                                                                   CLASS MEMBER RAYANN KRUM'S
     STEPHANIE NAVARRO, ROBERTO                                                                OBJECTION TO THE PROPOSED
13   SERRANO, and ALEXANDER                                                                    CLASS ACTION SETTLEMENT AND
     WASHINGTON on behalf of themselves and                                                    CONSENT DECREE
14
     all others similarly situated.
15
                    Plaintiffs,
16
            vs.
17
18   ALAMEDA COUNTY SHERIFF’S OFFICE, et
19   al.,
                  Defendants.
20
21          Class Member Rayann Krum (PFN #BMM781) is currently incarcerated as a
22   prisoner in Santa Rita Jail, and submits her objection to the proposed class action settlement,
23   as attached.
24   Dated: December 31, 2021                                  LAW OFFICE OF YOLANDA HUANG
25
                                                               By_____/S/ Yolanda Huang_______________
26
                                                                     YOLANDA HUANG
27
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         CLASS MEMBER RAYANN KRUM'S OBJECTION TO PROPOSED SETTLEMENT AND CONSENT DECREE
                    Babu, et al, et al v. Alameda County Sheriff’s Office United States District Court, Northern District of California, Case No. 5:18-cv-07677
Case 5:18-cv-07677-NC Document 328 Filed 12/30/21 Page 2 of 6
Case 5:18-cv-07677-NC Document 328 Filed 12/30/21 Page 3 of 6
Case 5:18-cv-07677-NC Document 328 Filed 12/30/21 Page 4 of 6
Case 5:18-cv-07677-NC Document 328 Filed 12/30/21 Page 5 of 6
Case 5:18-cv-07677-NC Document 328 Filed 12/30/21 Page 6 of 6
